                              IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE
  MICHELLE L. ALMANZA,                             )
                                                   )
                 Plaintiff,                        )
         v.                                        )     CIV. NO.: 3:15-cv-389
                                                   )     (VARLAN/GUYTON)
  JEFFERSON B. SESSIONS, III,                      )
  Attorney General,                                )
  United States Department of Justice,             )
                                                   )
                 Defendant.                        )

                   JOINT STATUS REPORT ON RESOLUTION EFFORTS


     Pursuant to this Court’s July 27, 2018 Order, the parties respectfully submit this Joint Status

  Report apprising the Court of the parties resolution efforts, and whether or not the parties wish to

  proceed with the filling of post-trial motions and briefs. (Doc. No. 116.) As further explained

  below, the parties have reached a resolution on all of Plaintiff’s claims against Defendant, except

  Plaintiff’s claim for attorneys’ fees and costs. The parties wish to proceed with the filing of post-

  trial motions and briefs on that claim only.

     The parties, through counsel, did mediate Plaintiff’s remaining claims with Mr. Howard H.

  Vogel, Esq., of O’Neil, Parker & Williamson, PLLC on August 2, 2018. On or about September

  10, 2018, the parties agreed to the terms and conditions of a Settlement Agreement and General

  Release (“Agreement”), attached hereto, resolving all pending claims and issues against

  Defendant, except for Plaintiff’s claim for attorneys’ fees and costs, in exchange for valuable

  consideration. The resolved claims include Plaintiff’s remaining age-based retaliation claim that

  is pending before this Court, the jury verdict that Plaintiff obtained at trial (Doc. Nos. 105, 114),

  and Plaintiff’s pending actions against the Defendant in every forum, including her Individual




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  Right of Action (IRA) appeal and underlying claims brought pursuant to the Whistleblower

  Protection Enhancement Act before the Merit System Protection Board, Docket Number: AT-

  1221-16-0232-W-4. Plaintiff also agreed to forego refiling her IRA before the Merit System

  Protection Board, Docket Number: AT-1221-16-0232-W-4. The parties request additional time,

  no more than 7 days from the date of this Joint Status Report, to sign and commence the execution

  of the terms of the Agreement.

     Once the Agreement is signed, Defendant must submit the Agreement to the Judgment Fund to

  execute the terms of same by payment of the Settlement Sum to Plaintiff. Typically, when

  Defendant requests payment from the Judgment Fund pursuant to a Settlement Agreement, two

  documents are required: (1) a signed settlement agreement and (2) a notice of dismissal. Here,

  obtaining a notice of dismissal will not be possible since the parties must still litigate Ms.

  Almanza’s remaining claim for attorneys’ fees and costs. The Judgment Fund has agreed to

  proceed with payment pursuant to the Agreement, however, if the District Court acknowledges the

  parties Agreement on the resolved claims. Therefore, the parties request that this Court

  acknowledge the Agreement by way of the attached Joint Stipulation of Compromise.

     This Court’s Order of July 27, 2018 stayed this case until October 1, 2018. Plaintiff moves this

  Court for an Order lifting this stay and setting the following briefing schedule to address the

  plaintiff’s motion for attorneys’ fees and costs:

        Plaintiff’s motion for attorneys’ fees and costs will be due November 1, 2018;

        Defendants’ response to the plaintiff’s motion will be due December 17, 2018;

        Plaintiff’s reply to the defendant’s response will be due January 7, 2019.



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     Despite the proposed briefing schedule requested above, the parties agree that either may seek

  leave of court to adjust the briefing schedule if necessary as the need arises.

  Plaintiff’s Additional Report:

     Due to the remaining dispute over attorneys’ fees and expenses, once the stay is lifted, the

  plaintiff intends to file a motion to re-open discovery for the limited purpose of seeking

  information related to the defendant’s investment of time and resources into the defense of this

  case as relevant to the reasonableness of the plaintiff’s investment of time and resources into the

  pursuit of her claims. The plaintiff will continue to pursue a negotiated resolution to this remaining

  dispute and believes that limited discovery will assist in this effort.

  Defendant’s Response:

     Defendant does not believe the dispute over attorneys’ fees and expenses warrants additional

  discovery. Defendant intends to file memoranda in opposition to Plaintiff’s motion to re-open

  discovery.




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  Respectfully submitted,

  JEFFERSON B. SESSIONS, III
  UNITED STATES ATTORNEY GENERAL

  BENJAMIN C. GLASSMAN,
  UNITED STATES ATTORNEY

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                                  CERTIFICATE OF SERVICE

     I hereby certify that on September 14, 2018, I electronically filed the foregoing with the Clerk

  of the Court using the CM/ECF system which will send notification of such filing to Jennifer B.

  Morton, Esq. and Maha M. Ayesh, Esq., Counsel for Plaintiff.



                                                      s/Brandi M. Stewart
                                                      BRANDI M. STEWART (Ohio 0082546)
                                                      Assistant United States Attorney




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